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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  IN RE: NATIONAL PRESCRIPTION           )             MDL No. 2804
  OPIATE LITIGATION                      )
                                         )             Case No. 17-md-2804
  THIS DOCUMENT RELATES TO:              )
                                         )             Judge Dan Aaron Polster
  ALL CASES                              )
                                         )             ORDER
                                         )
  _______________________________________


         On June 28, 2018, Special Master David R. Cohen (“SM Cohen”) issued Discovery

  Ruling No. 2. Doc #: 693. That ruling reflected a compromise between differences

  communicated to SM Cohen, via emails and letters by the parties, on the scope of discovery,

  including temporal and geographic scope, products subject to discovery, and the scope of prior

  productions. Id.

         On July 17, 2018, SM Cohen issued Discovery Ruling No. 3. Doc #: 762. SM Cohen

  noted that, in the wake of Discovery Ruling No. 2, he had received numerous letters from

  various defendants seeking reconsideration. Id. at 1. SM Cohen, having reviewed 75 pages of

  post-ruling comment, amended his prior ruling. Id. Specifically, he limited the geographic

  scope of “Category Two Discovery” (i.e., decentralized, customer-specific materials such as

  sales call notes and transactional data) from seven States to the two Ohio Track One counties

  (Cuyahoga and Summit). See id. at 2-4. He concluded by scheduling a deadline of July 24,

  2018 for the parties to file objections to Discovery Ruling Nos. 2 and 3. Id. at 9.
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         On July 24, 2018, the Manufacturer Defendants and the Pharmacy Defendants filed

  Objections, although the Distributor Defendants did not. Respectively, Doc ##: 785, 786. The

  Court directed Plaintiffs to file a cogent response to the objections on July 30, 2018. 7/26/2018

  Non-Document Order. Plaintiffs timely filed their response. Doc ##: 812 (redacted), 813

  (unredacted).

         On August 2, 2018, the Court held an in-person conference at the parties’ request. At

  that time, the Plaintiffs and Manufacturing Defendants jointly proposed that the Court extend the

  Track One discovery schedule and trial date so that the parties can complete the discovery

  necessary to present an intelligible trial. The Court agreed to do so, suggested a trial date in late

  August or early September 2019, directed counsel to work together and with SM Cohen to come

  up with a reasonable trial schedule, and directed the parties to present an agreed schedule to the

  Court no later than August 9, 2018.

         More to the point, the Court addressed Discovery Ruling Nos. 2 and 3, Defendants’

  Objections, and Plaintiffs’ Response. The Court noted that SM Cohen had done a good job of

  balancing the parties’ arguments. The Court also noted that the main objection of Defendants

  was that there was insufficient time to complete discovery under the current Track One trial

  schedule. Because the Court had already agreed to extend the Track One schedule and directed

  the parties to come up with new agreed deadlines, the Court concluded that most of Defendants’

  REMHFWLRQV were moot, and overruled the remaining arguments.

         IT IS SO ORDERED.


                                                   /s/ Dan A. Polster August 8, 2018
                                                 Dan Aaron Polster
                                                 United States District Judge



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